           Case 5:21-cv-00844-XR Document 708 Filed 08/11/23 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et §
 al.,                           §
                                §
      Plaintiffs,               §
                                § CIVIL ACTION NO. 5:21-CV-00844-XR
         v.                     § (Consolidated Cases)
                                §
 GREGORY W. ABBOTT, et al.,     §
                                §
       Defendants.              §

                DEFENDANT HARRIS COUNTY DISTRICT ATTORNEY
                     KIM OGG’S ADVISORY TO THE COURT

       Defendant Kim Ogg, in her official capacity as Harris County District Attorney (“District

Attorney Ogg”), files this advisory to the Court following the Court’s amended order (Dkt. 700).

       District Attorney Ogg was not provided with any information from any of the plaintiffs—

the United States or any of the Private Plaintiffs—on the time they anticipate using during the trial

scheduled to begin on September 11, 2023, much less “which witnesses are expected to testify on

which days and the subject matter of their testimony.”

       Accordingly, especially as a limited-role defendant, 1 it is impossible for District Attorney

Ogg to provide the Court with information on anticipated cross-examination of witnesses called

by the plaintiffs. It would be District Attorney Ogg’s plan to cross examine witnesses whose

testimony could potentially concern claims made against her. Without having been provided with

information from the plaintiffs about what if any such testimony plaintiffs intend to present,


       1
         As the Court is aware, District Attorney Ogg has a limited role in the case, as she is
currently a defendant only (per the Court’s prior orders) as to claims made by certain of the Private
Plaintiffs with respect to provisions of S.B. 1 that add to or amend existing provisions of the Texas
Election Code in a manner that Private Plaintiffs claim concern the State’s criminal laws.
         Case 5:21-cv-00844-XR Document 708 Filed 08/11/23 Page 2 of 2




District Attorney Ogg is not able to provide the Court with meaningful information at this time

about what her trial presentation would involve in terms of cross examination or rebuttal witness

testimony.

                                                     Respectfully submitted,

                                                     BUTLER SNOW LLP

                                                     By: /s/ Eric J.R. Nichols
                                                      Eric J.R. Nichols
                                                      State Bar No. 14994900
                                                      eric.nichols@butlersnow.com
                                                      Cory R. Liu
                                                      State Bar No. 24098003
                                                      cory.liu@butlersnow.com
                                                      Victoria A. Giese
                                                      State Bar No. 24126391
                                                      victoria.giese@butlersnow.com
                                                      1400 Lavaca Street, Suite 1000
                                                      Austin, Texas 78701
                                                      Tel: (737) 802-1800
                                                      Fax: (737) 802-1801

                                                       ATTORNEYS FOR DEFENDANT
                                                       DISTRICT ATTORNEY KIM OGG,
                                                       IN HER OFFICIAL CAPACITY AS
                                                       HARRIS    COUNTY   DISTRICT
                                                       ATTORNEY




                               CERTIFICATE OF SERVICE

      I hereby certify that on August 11, 2023, a true and correct copy of the foregoing
document was served on all counsel of record by filing with the Court’s CM/ECF system.


                                                     /s/ Eric J.R. Nichols
                                                     Eric J.R. Nichols




                                               2
